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Daniel Sadeh, Esq.
HALPER SADEH LLP
667 Madison Avenue, 5th Floor
New York, NY 10065
Telephone: (212) 763-0060
Facsimile: (646) 776-2600
Email: sadeh@halpersadeh.com

Counsel for Plaintiff

                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF NEW YORK

   STEVEN JONES,                                    Case No: 1:20-cv-04362-FB-JO

         Plaintiff,
                                                    NOTICE OF VOLUNTARY
         v.                                         DISMISSAL PURSUANT TO FED. R.
                                                    CIV. P. 41(a)(1)(A)(i)
   LIVONGO HEALTH, INC., GLEN
   TULLMAN, ZANE BURKE, CHRIS
   BISCHOFF, KAREN L. DANIEL, SANDRA
   FENWICK, PHILIP D. GREEN, and
   HEMANT TANEJA,

         Defendants.


       PLEASE TAKE NOTICE that, pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of

Civil Procedure, Plaintiff Steven Jones hereby voluntarily dismisses the above-captioned action

without prejudice. Defendants have not served an answer or a motion for summary judgment.

Dated: November 11, 2020                           Respectfully submitted,

                                                   HALPER SADEH LLP

                                                   By: /s/ Daniel Sadeh
                                                   Daniel Sadeh, Esq.
                                                   667 Madison Avenue, 5th Floor
                                                   New York, NY 10065
                                                   Telephone: (212) 763-0060
                                                   Facsimile: (646) 776-2600
                                                   Email: sadeh@halpersadeh.com

                                                   Counsel for Plaintiff

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                                CERTIFICATE OF SERVICE

        I, Daniel Sadeh, hereby certify that on November 11, 2020, a true and correct copy of the
annexed NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO FED. R. CIV. P.
41(a)(1)(A)(i) was served in accordance with the Federal Rules of Civil Procedure with the Clerk
of the Court using the CM/ECF system, which will send a notification of such filing to all parties
with an email address of record who have appeared and consented to electronic service in this
action.


Dated: November 11, 2020                            /s/ Daniel Sadeh
                                                    Daniel Sadeh




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